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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

      Hayes et al.,                                     CASE NO.: 21-22863-CIV-MOORE

             Plaintiffs,
      v.

      GOVERNOR RONALD DION DESANTIS,
      et al.,

            Defendants.
      _____________________________________/

           DEFENDANT, SCHOOL BOARD OF PALM BEACH COUNTY’S MOTION TO
           DISMISS AND RESPONSE TO PLAINTIFF’S MOTION FOR PRELIMINARY
                                   INJUNCTION

            COMES NOW, Defendant, SCHOOL BOARD OF PALM BEACH COUNTY, FLORIDA

  (Palm Beach), by and through undersigned counsel, and pursuant to Fed. R. Civ. P. 12(b)(1) and

  12(b)(6) hereby moves to dismiss the claims against it in Plaintiffs’ Complaint for Injunctive Relief

  (Complaint) for lack of subject matter jurisdiction and failure to state a claim upon which relief

  may be granted, based on the Plaintiffs’ failure to exhaust administrative remedies. Palm Beach

  also submits this document as its response to Plaintiffs’ Amended Motion for Preliminary

  Injunction (ECF No. 17).


  Legal Standard

            A motion to dismiss under Rule 12(b)(1) challenges a court’s subject matter jurisdiction.

  Fed. R. Civ. P. 12(b)(1). A motion to dismiss under Rule 12(b)(6) asserts that even if the facts

  asserted in the Complaint are accepted as true, the Complaint fails to state a claim upon which

  relief can be granted.


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  Preliminary Injunction

         As a preliminary matter, it should be noted that Counts 1 and 2 of the Complaint seek

  declaratory and injunctive relief against the Defendants. Palm Beach acknowledges that the minor

  Plaintiffs and their parents are challenging Governor DeSantis’ Executive Order 21-175, entitled

  “Ensuring Parents’ Freedom to Choose – Masks in School,” claiming the Governor’s directives

  are having the effect of subjecting the minor Plaintiffs to discrimination on the basis their

  disabilities because the Executive Order has made it impossible for school districts to implement

  appropriate protections, such as masking mandates and distance or virtual learning. However,

  Palm Beach notes that effective August 23, 2021, it does require that masks be worn by all students

  and employees unless a student has a medical exemption to be determined by a compliant 504

  Team. Prior to this date, masks were mandated but allowed parents to opt out of the mandate.

  Accordingly, the Executive Order being challenged in this matter has no bearing upon plaintiffs

  located in Palm Beach County, and Palm Beach takes no position as to the merits of Plaintiffs’

  claims for injunctive relief regarding the Executive Order and only addresses herein the issue of

  Plaintiffs’ failure to exhaust administrative remedies. To the extent Plaintiffs seek injunctive relief

  against Palm Beach, that request should be denied for the reasons provided herein.


  Plaintiffs’ Failure to Exhaust Administrative Remedies Requires Dismissal

         The claims against Palm Beach in the Complaint must be dismissed for failure to exhaust

  administrative remedies.      The exhaustion of administrative remedies is a prerequisite to

  commencing litigation under the Individuals with Disabilities Education Act (IDEA). Sch. Bd.

  Broward County, Fla. v. C.B., 315 F. Supp. 3d 1312 (S.D. Fla. 2018).



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         In Florida, the Division of Administrative Hearings (DOAH) has jurisdiction over the

  subject matter and parties to challenges regarding FAPE to children under the IDEA. Fla. Admin.

  Code R. 6A-6.03311(9). None of the Plaintiffs have alleged that they filed Petitions with DOAH

  to raise the issues brought before this Court. Indeed, Plaintiffs implicitly concede that they have

  not, alleging that “exhaustion would be futile.” Complaint, para. 164. But Plaintiffs provide no

  explanation for why exhaustion would be futile. As a result of their failure to plead that they

  exhausted administrative remedies, Plaintiffs have failed to satisfy a jurisdictional requirement

  requiring dismissal under Rule 12(b)(1), or in the alternative, have failed to satisfy a condition

  precedent to suit requiring dismissal under Rule 12(b)(6).

         In accordance with 34 CFR 300.507, a parent may request a due process hearing on any

  issue “relating to the identification, evaluation or educational placement of a child with a disability,

  or the provision of FAPE to the child.” The underlying claims in this case although creatively pled

  as violations of the ADA, Section 504 and/or the Florida Educational Equity Act, are premised

  upon Plaintiffs’ assertions they have the right to a “free appropriate public education (FAPE)” as

  eligible students with disabilities.     These claims properly fall under the Individuals with

  Disabilities Education Act (IDEA) 20 U.S.C.A. §1400, et. seq. Plaintiffs cannot circumvent the

  IDEA’s Exhaustion requirement by suing for a Free Appropriate Public Education (FAPE)

  deprivation under a different federal statute. Id.         Plaintiffs are also required by IDEA to

  administratively exhaust disability claims brought under Section 504 of the Rehabilitation Act of

  1963 and/or the Americans with Disabilities Act. Durbrow v. Cobb County Sch. Dist., 887 F. d

  1182 (11th Cir. 2018). “The exhaustion requirement also applies to claims under the Florida

  Educational Equity Act.” T.W. v. Franklin County Sch. Bd., 4:16CV29-RH/CAS, 2016 WL


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  4536408, at *2 (N.D. Fla. Aug. 30, 2016). The only exception to the exhaustion requirement is

  where the remedy sought is not for the denial of a free appropriate public education Fry v.

  Napoleon Comm. Schools, 137 S.Ct. 743 (U.S. 2017).

         Plaintiffs cite the school districts’ obligation under the IDEA, ADA, and Section 504 to

  “ensure that all children with disabilities have a free and appropriate public education [i.e., FAPE]

  in the most integrated and least restrictive environment.” (Complaint, Paragraph 45) They are

  “seeking to have their IEP and 504 plan implemented with care and heed taken for their individual

  circumstances as demanded by the educational laws, and not because of political whims or pressure

  of the majority that will endanger their health.” (Complaint, Paragraph 47) They further state they

  “would like the school district to implement their IEP and 504 plans as required by Federal Law

  without state preconditions that may cause them harm.” Complaint, Paragraph 48) To the extent

  Plaintiffs are alleging a failure by the School District to implement the IEPs, provide FAPE or

  maintain students in placements that are least restrictive, pursuant to Fry and C.B., such claims

  must be brought before the Division of Administrative               Hearings (DOAH) to exhaust

  administrative remedies as a prerequisite to bring the present suit, and Plaintiffs’ failure to do so

  mandates dismissal.

         In Fry, the Supreme Court suggested courts ask and answer two hypothetical questions in

  conducting this analysis.

         First, could the plaintiff have brought essentially the same claim if the alleged
         conduct had occurred at a public facility that was not a school— say, a public
         theater or library? And second, could an adult at the school—say, an employee or
         visitor—have pressed essentially the same grievance? When the answer to those
         questions is yes, a complaint that does not expressly allege the denial of a FAPE is
         also unlikely to be truly about that subject; after all, in those other situations there
         is no FAPE obligation and yet the same basic suit could go forward. But when the
         answer is no, then the complaint probably does concern a FAPE, even if it does not

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         explicitly say so; for the FAPE requirement is all that explains why only a child in
         the school setting (not an adult in that setting or a child in some other) has a viable
         claim.

  137 S.Ct. 743 at 755. It is clear in the present case the answer to both questions is an emphatic

  “no.” The gravamen of Plaintiffs’ allegations is the purported denial of FAPE. Therefore, the

  Complaint must be dismissed for failure to exhaust administrative remedies.

         In exhausting administrative remedies, Plaintiffs must also segregate their claims due to

  the unique and individual nature of each circumstance. Different disabilities, individual needs,

  unique circumstances all require and deserve individual attention to each claim made. It defies

  logic that these individual plaintiffs under the IDEA coming from various schools and even school

  districts with varying services, placements and circumstances, could all have suffered sufficiently

  similar harms to be aggregated into a single claim.         Accordingly, each individual plaintiff

  student/parent(s) team must proceed individually in exhausting administrative remedies.

         Wherefore, Defendant Palm Beach County School Board respectfully requests an order

  Granting its Motion to Dismiss with direction that each individual Plaintiff Family proceed

  individually in exhausting administrative remedies. Defendant Palm Beach County School Board

  further respectfully requests that Plaintiffs’ Amended Motion for Preliminary Injunction be denied

  with respect to Defendant Palm Beach County School Board.

         Respectfully submitted, this 24th day of August 2021.

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